                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE

 GAVIN COOK,                                *
 Individually and as sole surviving heir,               Civil Action File No.:
 TIMOTHY COOK, deceased,                    *

       Plaintiff,                           *

 v.                                         *

 MCMINN COUNTY, TENNESSEE         *
      Defendant.
 __________________________________________________________________

            COMPLAINT FOR CIVIL RIGHTS VIOLATIONS
                      AND WRONGFUL DEATH
 __________________________________________________________________


       COMES NOW the Plaintiff, GAVIN COOK (hereinafter the “Plaintiff”),

 individually and as the sole surviving heir of TIMOTHY COOK, by and through

 his attorneys, submits this Complaint for Damages against McMINN COUNTY,

 TENNESSEE (hereinafter “Defendant”), demanding a jury trial and showing this

 Honorable Court as follows:

                          PRELIMINARY STATEMENT

 1.   This is a civil rights action brought pursuant to 42 U.S.C. § 1983 arising from

      the failure of Defendant McMINN COUNTY, Tennessee, to protect pretrial

      detainee TIMOTHY COOK from a known violent detainee, JARROD JONES

      ("JONES").

                                            1

Case 3:25-cv-00074-KAC-DCP       Document 1     Filed 02/21/25   Page 1 of 21    PageID
                                       #: 1
 2.   On February 17, 2018, TIMOTHY COOK was arrested and charged with

      Driving Under the Influence. The Defendant, acting through the McMINN

      COUNTY SHERIFF’S OFFICE (hereinafter “MCSO”), placed TIMOTHY

      COOK and another inmate, JONES, together in a jail cell.

 3.   Less than an hour after TIMOTHY COOK was booked into the McMinn County

      Jail (hereinafter the ”JAIL”), JONES brutally murdered him without

      provocation.

 4.   JONES was a notoriously violent inmate well-known by the MCSO for his

      history of vicious assaults on fellow detainees and inmates at the JAIL.

 5.   Despite knowledge of JONES’ violent propensity to assault others in the JAIL,

      on February 17, 2018, JAIL staff housed JONES and TIMOTHY COOK

      together in the same cell, which unsurprising resulted in JONES savagely

      attacking and ultimately killing TIMOTHY COOK.

 6.   The Defendant exhibited deliberate indifference to the safety and constitutional

      rights of TIMOTHY COOK, a pretrial detainee, thereby violating his rights

      under the Eighth and Fourteenth Amendments to the United States Constitution,

      as well as his rights under Tennessee law and the Tennessee Constitution.

 7.   Specifically, Sheriff Joe Guy’s (hereinafter “SHERIFF GUY”) “clean slate”

      policy of disregarding inmates' known violent histories and failing to segregate




                                           2

Case 3:25-cv-00074-KAC-DCP       Document 1    Filed 02/21/25   Page 2 of 21     PageID
                                       #: 2
      dangerous individuals from vulnerable detainees directly and proximately

      caused the brutal murder of TIMOTHY COOK.

 8.   The Defendant maintained a custom or practice of deliberate indifference to the

      critical security and safety of detainees at the JAIL. Upon information and

      belief, no officer, agent, or employee of MCSO was disciplined in connection

      with needs TIMOTHY COOK’S murder. Instead, their actions were deemed

      compliant with SHERIFF GUY’S established policies, practices, and customs

      and were fully ratified by the Defendant in all respects.

 9.   The actions and inactions of the Defendant, and those under its supervision and

      control, were the proximate cause of TIMOTHY COOK’S death.

                                        PARTIES

 10. The allegations of the preceding paragraphs of this Complaint are hereby

      incorporated by reference, as if set forth verbatim.

 11. GAVIN COOK is the only child and sole surviving heir of TIMOTHY COOK.

      He is an individual resident and citizen of the State of Florida.

 12. McMINN COUNTY is a governmental entity and a political subdivision of the

      State of Tennessee, duly organized, and is constitutionally responsible for the

      safety, security and welfare of detainees in its jail.




                                             3

Case 3:25-cv-00074-KAC-DCP         Document 1     Filed 02/21/25   Page 3 of 21   PageID
                                         #: 3
 13. McMINN COUNTY may be served through its chief executive officer, Mayor

     John Gentry, at the McMinn County Courthouse, 6 East Madison Avenue

     Athens, Tennessee 37303.

 14. McMINN COUNTY is responsible for the policies, customs, and training of its

     employees, agents, and officials, including those working at the JAIL.

 15. McMINN COUNTY is liable for its own conduct and for the acts and omission

     of its servants, employees, agents and staff, pursuant to the doctrines of agency,

     apparent agency, implied agency, employer/employee relations, joint and

     several liability, respondeat superior and vicarious liability.

 16. The JAIL is operated by the MCSO. The sheriff has a statutory duty to take

     charge and custody of the JAIL and inmates or detainees housed therein. Tenn.

     Code Ann. § 41-4-101.

 17. At all times, McMINN COUNTY and MCSO possessed the power and

     authority to adopt policies and prescribe rules, regulations, and practices

     affecting all facets of the training, supervision, control, employment,

     assignment and removal of individual members of the MCSO, including those

     individuals charged with protecting the safety of inmates or detainees at the

     JAIL, and to assure that said actions, policies, rules, regulations, practices and

     procedures of the MCSO and its employees and agents comply with the laws

     and constitutions of the United States and the State of Tennessee.


                                           4

Case 3:25-cv-00074-KAC-DCP       Document 1     Filed 02/21/25    Page 4 of 21   PageID
                                       #: 4
 18. Tenn. Code Ann. § 41-2-108 establishes that the sheriff is the ex officio

     superintendent of the county jail. Tenn. Code Ann. § 41-4-101 establishes that

     the Sheriff has “custody and charge” of the county jail.

 19. SHERIFF GUY “is charged with the duty of treating the inmates with humanity

     and kindness and protecting them from harsh and cruel treatment and

     overwork.” See Tenn. Code Ann. § 41-21-201.

 20. At all times material hereto, SHERIFF GUY was the duly elected Sheriff of

     McMINN COUNTY, statutorily responsible for the operation of the JAIL; for

     the screening, hiring, firing, training, and the supervision of the jailers, deputies,

     corrections officers, and other jail personnel; and responsible for the safety and

     welfare of those housed in the JAIL. See Tenn. Code Ann. §41-4-101.

 21. At all times material hereto, SHERIFF GUY also possessed the power and

     authority and was charged by law with the responsibility to enact policies and

     to prescribe rules and practices concerning the booking, housing, and safety of

     inmates in custody of the JAIL.

                             JURISDICTION AND VENUE

 22. The allegations of the preceding paragraphs of this Complaint are hereby

     incorporated by reference, as if set forth verbatim.

 23. This action arises under 42 U.S.C. §§ 1983 and 1988 and the Eighth and

     Fourteenth Amendments of the United States Constitution.


                                            5

Case 3:25-cv-00074-KAC-DCP        Document 1      Filed 02/21/25    Page 5 of 21    PageID
                                        #: 5
 24. This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.

 25. This Court also has supplemental jurisdiction over any claims brought under

     Tennessee law, pursuant to 28 U.S.C. §1367, as such claims are so related to

     claims in the action within the original jurisdiction of this Court that they form

     part of the same case or controversy under Article III of the Constitution.

 26. Venue is proper in the Eastern District of Tennessee pursuant to 28 U.S.C. §

     1391(b), as the events giving rise to this claim occurred in McMINN COUNTY,

     which is within the territory of the Eastern District Court of Tennessee.

                              WAIVER OF IMMUNITY

 27. The allegations of the preceding paragraphs of this Complaint are hereby

     incorporated by reference, as if set forth verbatim.

 28. McMINN COUNTY has waived immunity for the negligence of county

     employees, misconduct of officers or deputies acting under color of law, and for

     the negligence of officers, deputies, or employees of the McMINN COUNTY

     or MCSO as set out in Tenn. Code Ann. §8-8-302 for any act or failure to act

     on the part of any deputy appointed by the sheriff, or other misconduct

     committed by deputies by virtue of or under color of law.

 29. There is no immunity for individuals for criminal conduct or conduct which is

     willful or malicious.




                                           6

Case 3:25-cv-00074-KAC-DCP      Document 1      Filed 02/21/25   Page 6 of 21    PageID
                                      #: 6
                                       FACTS

 30. The allegations of the preceding paragraphs of this Complaint are hereby

     incorporated by reference, as if set forth verbatim.

 31. On February 17, 2018, TIMOTHY COOK was arrested by the Athens Police

     Department for Driving Under the Influence and taken to the JAIL.

 32. Upon arrival, TIMOTHY COOK was booked at 5:39 PM and placed in “Cell

     One,” the largest holding cell in the JAIL’s booking area, alongside JONES.

 33. At this time there were at least three cells adjacent to “Cell One,” which were

     empty and could have housed either TIMOTHY COOK or JONES.

 34. The MCSO had full knowledge of JONES’ extensive history of violent assaults

     on fellow inmates, including a recent attack in the same cell only nineteen (19)

     days earlier.

 35. Despite this, the JAIL maintained a “clean slate” policy, wherein detainees with

     known violent histories were not segregated from others unless they displayed

     current aggressive behavior upon booking.

 36. At approximately 6:22 PM, JONES viciously attacked TIMOTHY COOK

     without provocation, punching and kicking him to the ground and repeatedly

     stomping on his head and body. This vicious assault was brutal and relentless.

 37. Officers of the JAIL did not intervene in time, despite the attack occurring in

     the booking area, in their direct view. When the officers arrived, TIMOTHY


                                           7

Case 3:25-cv-00074-KAC-DCP      Document 1     Filed 02/21/25   Page 7 of 21   PageID
                                      #: 7
     COOK was not breathing and was otherwise non-responsive. JONES had to be

     tased, physically restrained, and placed in a restraint chair.

 38. TIMOTHY COOK suffered severe traumatic injuries and was transported to the

     University of Tennessee Medical Center where he succumbed to his injuries

     after nearly a week on life support.

 39. JONES was subsequently convicted of second-degree murder for TIMOTHY

     COOK’S cold and brutal murder.

 40. JONES has a lengthy history of incarceration at the JAIL, having been detained

     at least fifteen (15) times over a seven (7) year period. Throughout these

     incarcerations, he established a documented pattern of violently assaulting

     fellow detainees. Copies of records demonstrating these incarcerations are

     attached hereto as Collective Exhibit A.

 41. JONES was the subject of repeated jail incident/disciplinary reports during his

     many incarcerations at the JAIL all of which involved attacks against other

     detainees. In eight (8) month span, JONES was disciplined at least five (5) times

     by JAIL staff for assaulting fellow detainees:

       a. On May 4, 2017, JONES was disciplined for “assault against inmate” for

          attacking another detainee – Brandon Tindell.

       b. On May 25, 2017, JONES was disciplined for “assault against inmate” for

          attacking another detainee – Doug Clowers.


                                            8

Case 3:25-cv-00074-KAC-DCP       Document 1     Filed 02/21/25    Page 8 of 21   PageID
                                       #: 8
      c. On January 3, 2018, JONES was disciplined for being in an altercation

          with a fellow detainee – Derek McCreary.

      d. On January 29, 2018, JONES was disciplined for “assault against inmate”

          for attacking several fellow inmates including fellow detainee – David

          Rodriguez.

      e. On February 6, 2018, JONES was disciplined for having an altercation

          with several detainees.

 42. JONES’ pattern of attacking inmates and detainees continued even after he

     murdered TIMOTHY COOK in plain view of officers at the JAIL. Just five (5)

     days later, on February 22, 2018, JONES attacked another three additional

     inmates.

 43. Audaciously, on May 13, 2018, JONES assaulted fellow detainee Whitley.

     Copies of records memorializing these attacks are attached hereto as Collective

     Exhibit B.




                                         9

Case 3:25-cv-00074-KAC-DCP      Document 1    Filed 02/21/25   Page 9 of 21   PageID
                                      #: 9
                              CLAIMS FOR RELIEF

                                   COUNT ONE

                         VIOLATION OF 42 USC §§ 1983
                     (UNDER THE FOURTEENTH AMENDMENT)

                MONELL CLAIM – POLICY, CUSTOM OR PRACTICE
                OF DELIBERATE INDIFFERENCE TO INMATE SAFETY

 44. The allegations of the preceding paragraphs of this Complaint are hereby

     incorporated by reference, as if set forth verbatim.

 45. At all times material the Defendant and its employees, agents and staff were

     performing a traditional governmental function of a sheriff operating a county

     jail and were state actors. All of its acts and inactions were performed under the

     color of law.

 46. TIMOTHY COOK was a pretrial detainee of the MCSO and detained at the

     JAIL. The Defendant and its employees, agents and staff were responsible for

     TIMOTHY COOK’S well-being, safety and security.

 47. McMINN COUNTY has a statutory and constitutional duty to maintain the

     JAIL to secure the safe custody, health, and comfort of inmates housed therein.

     See Tenn. Code Ann. §§ 5-7-104, 106.

 48. SHERIFF GUY possessed exclusive authority and responsibility for ensuring

     the safety and security of detainees and inmates within the JAIL, as mandated

     by Tennessee law. In purported fulfillment of this duty, he implemented a "clean


                                          10

Case 3:25-cv-00074-KAC-DCP      Document 1 Filed 02/21/25       Page 10 of 21    PageID
                                      #: 10
     slate" policy, under which all detainees were treated as non-threatening and non-

     dangerous unless they engaged in violent conduct, without any exception for

     individuals with a well-documented history of assaulting other detainees. Given

     the inherent dangers associated with incarcerating violent individuals together,

     this policy is unconstitutional on its face. Even if not facially unconstitutional,

     its systematic implementation resulted in constitutional violations, including at

     least two documented incidents within a nineteen-day period.

 49. SHERIFF GUY, as the official policymaker for the JAIL, implemented policies

     that was the direct and proximate cause of TIMOTHY COOK’S death. By

     exercising his authority to establish this policy, it became the official policy of

     the MCSO. As a result, the Defendant’s liability arises from the unconstitutional

     policy itself.

 50. Alternatively, if there was no official written or adopted policy regarding

     placement of inmates at the JAIL disregarding each individual inmate’s or

     detainee’s propensity to commit violence against another inmate, it was a

     defacto policy, custom, or practice.

 51. TIMOTHY COOK was confined in a jail cell with JONES, and he was unable

     to protect himself from JONES’ violent and unrelenting attack.

 52. JONES’ propensity to assault other detainees was well known to the Defendant,

     SHERIFF GUY, the MCSO, and the JAIL.


                                            11

Case 3:25-cv-00074-KAC-DCP      Document 1 Filed 02/21/25        Page 11 of 21    PageID
                                      #: 11
 53. Despite having actual knowledge of JONES’ extensive history of violent

     assaults, the Defendant and JAIL personnel failed to take reasonable measures

     to protect TIMOTHY COOK from foreseeable harm. Instead, they adhered to

     the inherently flawed and reckless “clean slate” policy implemented by

     SHERIFF GUY. Rather than placing TIMOTHY COOK in one of at least three

     (3) unoccupied cells, they confined him in a cell with JONES, locked the door,

     thereby depriving TIMOTHY COOK of any means of escape, and failed to

     adequately monitor JONES, ultimately enabling him to murder TIMOTHY

     COOK.

 54. The Defendant had a constitutional duty to ensure TIMOTHY COOK’S safety,

     security, and protection from the known danger posed by JONES. By complying

     with SHERIFF GUY’s “clean slate” policy, the Defendant failed to uphold this

     duty. SHERIFF GUY explicitly endorsed the “clean slate” policy, stating that

     detainees should not be prejudged based on past conduct, leading to reckless

     disregard for inmate safety.

 55. The Defendant violated TIMOTHY COOK’S clearly established rights under

     the Fourteenth Amendment to the United States Constitution, demonstrating

     deliberate, conscious, and intentional indifference to his obvious need for

     protection.




                                        12

Case 3:25-cv-00074-KAC-DCP     Document 1 Filed 02/21/25     Page 12 of 21   PageID
                                     #: 12
 56. The Defendant knew TIMOTHY COOK faced a substantial risk of harm from

     JONES, yet failed to protect him. This grave disregard for TIMOTHY COOK’S

     safety violated contemporary standards of decency, demonstrating objective

     deliberate indifference.

 57. The Defendant’s actions were undertaken pursuant to an official policy or

     custom exhibiting deliberate indifference to the safety and security of detainees

     at the JAIL, including TIMOTHY COOK. This policy or custom was the direct

     and proximate cause of TIMOTHY COOK’S death. Furthermore, the acts and

     omissions of the Defendant violated TIMOTHY COOK’S clearly established

     constitutional rights under the Constitution of the State of Tennessee, including

     Article I, § 8 and Article I, § 13.

 58. The “clean slate” policy of inaction by the Defendant and SHERIFF GUY,

     despite their actual knowledge that such a policy would result in constitutional

     violations, is the functional equivalent of an affirmative decision by the

     Defendant to violate the Constitution. The Defendant abdicated its fundamental

     duty to ensure a safe and secure environment for detainees and inmates.

 59. As a direct and proximate result of the actions and/or omissions of the

     Defendant, causing the violation of TIMOTHY COOK’S Fourteenth

     Amendment rights, the Plaintiff submits this Complaint against the Defendant

     for violating his father’s constitutional rights, and seeks any and all damages


                                           13

Case 3:25-cv-00074-KAC-DCP       Document 1 Filed 02/21/25     Page 13 of 21    PageID
                                       #: 13
     allowable to him, both individually and as TIMOTHY COOK’S next of kin, as

     well as attorney’s fees pursuant to 42 U.S.C. § 1988, costs, and discretionary

     costs.


                                     COUNT TWO

                           VIOLATION OF 42 USC §§ 1983
                       (UNDER THE FOURTEENTH AMENDMENT)

                 MONELL CLAIM – FAILURE TO TRAIN OR SUPERVISE

 60. The allegations of the preceding paragraphs of this Complaint are hereby

     incorporated by reference, as if set forth verbatim.

 61. The Defendant, MCSO, and SHERIFF GUY had a duty of care to TIMOTHY

     COOK and other inmates to ensure that corrections officers were properly

     trained to protect the health and safety of inmates. This duty was breached, as

     described herein, as the Defendant failed to adequately train and supervise its

     employees, officers, and agents to provide detainees and inmates adequate

     safety, including regular security and well checks of inmates and frequent well-

     checks of inmates confined with inmates that repeatedly violently attack other

     inmates. Such acts or omissions constitute a violation of §1983 and deprived

     TIMOTHY COOK of his rights under the Fourteenth Amendment.




                                          14

Case 3:25-cv-00074-KAC-DCP      Document 1 Filed 02/21/25      Page 14 of 21   PageID
                                      #: 14
 62. The Defendants knew the risk JONES posed to TIMOTHY COOK and

     disregarded it. Their failure to protect TIMOTHY COOK therefore constitutes

     subjective deliberate indifference to TIMOTHY COOK’S safety and security.

 63. The JAIL officer who placed JONES and TIMOTHY COOK in "Cell One" did

     so despite knowing JONES’ history of violence toward other inmates, including

     an attack only nineteen (19) days previously. Moreover, shift supervisor Derrick

     Saxe, who had personally witnessed JONES’ previous assaults, failed to

     separate them. This demonstrates that JAIL employees were trained to strictly

     follow the policy without exceptions.

 64. The Defendant and the MCSO failed to adequately and properly train and

     educate its employees, agents, and staff with respect to the proper procedures

     for protecting the safety and security of detainees from other volatile,

     dangerous, and violent detainees. This constitutes both deliberate indifference

     and reckless disregard to the welfare of detainees under its care.

 65. The Defendant failed to adequately monitor and evaluate the performance of its

     employees, agents, contractors and staff with respect to their duties and

     obligations to protect detainees from known dangers, including those dangers

     posed by detainees well known for attacking their fellow detainees, and this

     failure was due to deliberate indifference and reckless disregard to the welfare

     and safety or detainees such as TIMOTHY COOK.


                                          15

Case 3:25-cv-00074-KAC-DCP      Document 1 Filed 02/21/25       Page 15 of 21   PageID
                                      #: 15
 66. Here, the correctional officers in the MCSO rightly believed that their actions

     and indifference to TIMOTHY COOK’S health and safety would be tolerated

     and accepted by supervisors, as the County routinely allowed such deprivations

     to go unchecked. As none of them appear to have been disciplined, their lack of

     concern proved prescient.

 67. JONES attacked two other inmates or detainees after he brutally murdered

     TIMOTHY COOK. Despite the danger of housing other inmates and detainees

     at the jail, neither SHERIFF GUY or any other supervisor instructed JAIL staff

     to segregate JONES.

 68. For all of these reasons, the Defendant abdicated its governmental

     responsibilities to provide a safe and secure incarceration environment to

     inmates and detainees

 69. The deprivation of TIMOTHY COOK’S constitutional rights, as described

     above, was the proximate cause of TIMOTHY COOK’S death and the cause in

     fact of TIMOTHY COOK’S death.

                                   COUNT THREE

                                WRONGFUL DEATH
                        TENN. CODE ANN. §§ 20-5-106, ET SEQ.

 70. The allegations of the preceding paragraphs of this Complaint are hereby

     incorporated by reference, as if set forth verbatim.



                                          16

Case 3:25-cv-00074-KAC-DCP       Document 1 Filed 02/21/25    Page 16 of 21   PageID
                                       #: 16
 71. The Plaintiff brings this action as TIMOTHY COOK’S sole surviving heir and

     next of kin, as authorized by Tenn. Code Ann. §§ 20-5-106 et seq., Tennessee’s

     Wrongful Death Statute, and seek damages for loss of consortium and society.

     TIMOTHY COOK did not have a surviving spouse.

 72. Defendant owed a duty of due care to TIMOTHY COOK at all times relevant

     to this action and violated that duty in the manner alleged herein.

 73. Defendant failed to protect TIMOTHY COOK from JONES despite having

     knowledge of JONES’ propensity of violence towards other inmates.

 74. These actions of Defendant were performed knowingly, wantonly, and with

     gross disregard for TIMOTHY COOK’S safety and welfare.

 75. The foregoing acts of the Defendant proximately caused TIMOTHY COOK’S

     death, entitling Plaintiff to recover compensatory damages from Defendant.

     Said damages include, but are not limited to, the loss of life and wrongful death

     of TIMOTHY COOK, the pain and suffering TIMOTHY COOK endured before

     his death, his lost earning capacity, economic and non-economic damages,

     funeral, and/or related burial expenses, and the Plaintiff’s loss of TIMOTHY

     COOK’S society and companionship.

 76. Based upon the foregoing allegations of this Complaint, the Plaintiff is entitled

     to recover a judgment in the amount of TEN MILLION DOLLARS




                                          17

Case 3:25-cv-00074-KAC-DCP      Document 1 Filed 02/21/25       Page 17 of 21   PageID
                                      #: 17
     ($10,000,000)    in   compensatory     damages     and   FIFTEEN      MILLION

     ($15,000,000) in punitive damages.

                                    COUNT FOUR

                      NEGLIGENCE AND GROSS NEGLIGENCE

 77. The allegations of the preceding paragraphs of this Complaint are hereby

     incorporated by reference, as if set forth verbatim.

 78. Defendant owed a duty to TIMOTHY COOK to act with ordinary care and

     prudence so as not to cause him harm or injury.

 79. The actions of Defendant were negligent and reckless, including but not limited

     to, allowing the JAIL to be unsafe for any inmate, especially from other inmates,

     placing JONES in the same cell at TIMOTHY COOK, and failing to stop

     JONES’ attack upon TIMOTHY COOK, all of which culminated in his

     unnecessary death.

 80. The Defendant owed a duty to the public in general and specifically to

     TIMOTHY COOK to use due care in fulfilling their duties and to ensure their

     conduct conformed to applicable laws, policies, procedures, and generally

     accepted law enforcement standards. As described above, Defendant breached

     its duties of due care and were negligent, grossly negligent, reckless, willful,

     and wanton in all of the foregoing particulars.




                                          18

Case 3:25-cv-00074-KAC-DCP      Document 1 Filed 02/21/25      Page 18 of 21    PageID
                                      #: 18
 81. In particular, SHERIFF GUY’s policy, custom, or practice in which all

     detainees were treated as non-threatening and non-dangerous unless they

     engaged in violent conduct, without any exception for individuals with a well-

     documented history of assaulting other detainees, was indeed causally-linked to

     TIMOTHY COOK’S death. By callously failing to segregate violent individuals

     at the JAIL, the Defendant engaged in gross negligence, which led to

     TIMOTHY COOK’S death.

 82. The Defendant is also legally liable for the non-negligent acts or failures to act

     of McMINN COUNTY deputies, correctional officers, and other employees and

     agents of the MCSO pursuant to Tenn. Code Ann. § 8-8-302, and this includes

     instances of gross negligence.

 83. As a direct and proximate result of Defendant’s gross negligence, as alleged

     above, and other undiscovered negligent conduct, JONES murdered TIMOTHY

     COOK at the JAIL while correctional officers watched it occur in their presence.

 84. The foregoing acts or omissions proximately caused TIMOTHY COOK’S

     death, entitling Plaintiff to recover compensatory damages from Defendant.

     Said damages include, but are not limited to, the loss of life and wrongful death

     of TIMOTHY COOK, the pain and suffering TIMOTHY COOK suffered

     before his death, his lost wages and earning capacity, economic and non-




                                          19

Case 3:25-cv-00074-KAC-DCP      Document 1 Filed 02/21/25       Page 19 of 21    PageID
                                      #: 19
     economic damages, funeral, and/or related burial expenses, and his son’s loss

     of TIMOTHY COOK’S society and companionship.


                                  JURY DEMAND


85. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by

    jury of all of the claims asserted in this Complaint so triable.


                              PRAYER FOR RELIEF


 WHEREFORE, the Plaintiff prays:


    A. That Defendant be served with a copy of this Complaint and be required to

       answer;

    B. That the Court grant any reasonable request to amend this complaint to

       conform to the discovery and evidence obtained in this action;

    C. That the Court find that Defendant has engaged in the conduct and statutory

       and common law violations alleged herein;

    D. That Plaintiff, as the only child and sole surviving heir, and individually,

       where appropriate, be awarded such damages as appropriate for all injuries

       proximately caused by Defendant’s actions and that a judgment in their favor

       be entered;

    E. That Plaintiff, as the only child and sole surviving heir, and individually,

       where appropriate, be awarded TEN MILLION DOLLARS ($10,000,000) in
                                           20

Case 3:25-cv-00074-KAC-DCP       Document 1 Filed 02/21/25        Page 20 of 21   PageID
                                       #: 20
       compensatory damages to include but not limited to the loss of life and

       wrongful death of TIMOTHY COOK, physical pain and suffering; emotional

       pain and suffering; economic and non-economic damages; funeral expenses;

       loss of enjoyment of life; loss of future wages and income; loss of consortium

       and services, the full pecuniary value of the life of TIMOTHY COOK;

    F. That Plaintiff, as the only child and sole surviving heir, be awarded FIFTEEN

       MILLION DOLLARS ($15,000,000) in punitive damages;

    G. That Plaintiff have and recover costs for this suit, including reasonable

       attorneys’ fees and discretionary costs, as provided by law; and

    H. That Plaintiff be awarded pre-judgment and post-judgment interest as

       permitted by common law or applicable statute and such other or further relief

       as may be just and proper.


 Respectfully submitted, this 21st day of February, 2025.

                                       CAVETT, ABBOTT & WEISS, PLLC

                                       ________________________________
                                       Joshua P. Weiss (Bar No. 500861
                                       Counsel for Plaintiff
                                       801 Broad Street, Suite 428
                                       Chattanooga, TN 37402
                                       Phone: 423-265-8804
                                       Fax: 423-267-5915
                                       josh@cawpllc.com



                                         21

Case 3:25-cv-00074-KAC-DCP      Document 1 Filed 02/21/25      Page 21 of 21   PageID
                                      #: 21
